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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO



WARNER RECORDS INC., et al.,

         Plaintiffs,
                                                          Case No. 19-cv-00874-RBJ-MEH
v.

CHARTER COMMUNICATIONS, INC.,

         Defendant


      PLAINTIFFS’ AND THE RECORDING INDUSTRY ASSOCIATION OF AMERICA’S
                    UNOPPOSED MOTION FOR LEAVE TO RESTRICT
     ______________________________________________________________________________

            Pursuant to D.C.COLO.LCivR 7.2, Plaintiffs Warner Records Inc., et al., and the

     Recording Industry Association of America (“RIAA”) respectfully move this Court to restrict

     under Level 1 restriction two exhibits to Charter Communications, Inc.’s Motion to Compel

     Discovery, ECF No. 438 (“Charter’s Motion”); RIAA’s and Plaintiffs’ Opposition to Charter’s

     Motion (“Plaintiffs’ Opposition”); three exhibits to Plaintiffs’ Opposition; and two declarations

     in support of Plaintiffs’ Opposition. In support of this Motion, Plaintiffs state as follows:

            1.         Certification Pursuant to D.C.COLO.LCivR 7.1: Counsel for Plaintiffs and

     RIAA have conferred with counsel for Charter regarding this Motion. Charter does not oppose

     this Motion.

     Exhibits to Charter’s Motion

            2.         Charter’s Motion contains seven exhibits, designated “Exhibit A” through

     “Exhibit G.” This Motion requests that two of those Exhibits, Exhibit C and Exhibit F, be
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   designated as “Restricted Documents, Level 1” and that access be restricted to the Parties and the

   Court.

            3.    Exhibit C is a supplemental privilege log served in this case by RIAA pursuant to

   a subpoena issued by Charter. ECF No. 438-4.

            4.    Exhibit F contains a confidential 2018 agreement between Oppenheim + Zebrak

   (as agent and counsel for certain Plaintiffs in this action and RIAA) and Plaintiffs’ antipiracy

   vendor, MarkMonitor, Inc. (“MarkMonitor”). ECF No. 438-7.

            5.    Exhibit C and Exhibit F both contain sensitive, confidential information regarding

   Plaintiffs’ and RIAA’s antipiracy efforts, including the details of efforts in anticipation of

   litigation. Disclosure of this information would cause harm to Plaintiffs, RIAA, and

   MarkMonitor, through the disclosure of the parties’ business and litigation strategy and

   confidential contractual terms. See, e.g., Rickaby v. Hartford Life & Accident Ins. Co., No. 15-

   CV-00813-WYD-NYW, 2016 WL 1597589, at *5 (D. Colo. Apr. 21, 2016) (restricting access to

   commercially sensitive information and proprietary contracts).

            6.    The risk of harm to Plaintiffs, RIAA, and MarkMonitor outweighs the need for

   the public to have access to the confidential information in Exhibits C and F. Generally, this

   information, while harmful in the hands of competitors, is not necessary or substantially

   informative for the general public to understand or evaluate the issues between the parties.

            7.    RIAA and Plaintiffs seek only a Level 1 restriction—the least secretive level of

   restriction—for Exhibit C and Exhibit F. Other methods of protecting the sensitive information,

   such as redaction, are not workable here because (1) Section I of Charter’s Motion references the

   substance and content of Exhibit C, and (2) a fulsome understanding of the project described in

   Section II of Charter’s Motion requires access to Exhibit F. Permitting a Level 1 restriction for



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   these two exhibits is the only method that can adequately protect the sensitive confidential

   information found in the exhibits.

          8.      Moreover, though the mere existence of a Stipulated Protective Order is not in

   itself sufficient to prove that a Motion to Restrict should be granted, Plaintiffs respectfully

   inform the Court that Exhibit C and Exhibit F to Charter’s Motion have both been designated

   Confidential under the Protective Order entered in this case. ECF No. 63.

   Plaintiffs’ Opposition, Exhibits, and Declarations in Support

          9.      Additionally, this Motion requests that Plaintiffs’ Opposition, three exhibits

   thereto (Ex. Nos. 2, 4, and 10), and two declarations filed in support of Plaintiffs’ Opposition

   (Declaration of Steve Marks and Declaration of Matthew J. Oppenheim) be designated as

   “Restricted Documents, Level 1” and that access be restricted to the Parties and the Court, as

   described more specifically below.

          10.     Plaintiffs’ Opposition contains ten exhibits, designated “Exhibit 1” through

   “Exhibit 10.” This Motion requests that three of those Exhibits, Exhibit Nos. 2, 4, and 10, be

   designated as “Restricted Documents, Level 1” and that access be restricted to the Parties and the

   Court, and that with respect to Exhibit 10, Plaintiffs publicly file a version of Exhibit 10 in which

   discussion of confidential material is redacted.

          11.     Exhibit 2 is a 2016 Statement of Work that was previously designated under

   Level 1 Restriction in this case (the “2016 SOW”). See ECF No. 266-5; see also ECF Nos. 270,

   273. Exhibit 2 contains commercially sensitive business information of RIAA and

   MarkMonitor. Disclosure of this information would cause competitive harm to Plaintiffs, RIAA,

   and MarkMonitor through the disclosure of the manner and details of MarkMonitor’s retention.

   See, e.g., Health Grades, Inc. v. MDx Med., Inc., No. 11-cv-00520-RM-BMB, 2014 WL



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   12741068, at *2 (D. Colo. Mar. 28, 2014) (“[T]he redactions and restrictions are justified to

   protect against the public disclosure of competitively sensitive, highly confidential, and

   proprietary information.”).

          12.       Exhibit 4 is a December 20, 2011 Master Agreement between RIAA and

   MarkMonitor. Exhibit 4 contains commercially sensitive business information of RIAA and

   MarkMonitor. Disclosure of this information would cause competitive harm to Plaintiffs, RIAA,

   and MarkMonitor through the disclosure of the manner and details of MarkMonitor’s retention.

   See, e.g., Health Grades, 2014 WL 12741068, at *2.

          13.       Exhibit 10 is a chart prepared by Charter that describes privilege-related disputes

   between the parties and discusses the 2016 SOW and the 2016 download project at issue in

   Charter’s Motion and Plaintiffs’ Opposition. Exhibit 10 contains commercially sensitive

   business information of RIAA and MarkMonitor. Disclosure of this information would cause

   competitive harm to Plaintiffs, RIAA, and MarkMonitor through the disclosure of the manner

   and details of MarkMonitor’s retention. See, e.g., Health Grades, 2014 WL 12741068, at *2.

          14.       Filed concurrently with and in support of Plaintiffs’ Opposition are declarations

   from Steve Marks (the “Marks Declaration”) and Matthew J. Oppenheim (the “Oppenheim

   Declaration”).

          15.       The Marks Declaration describes and discusses the 2016 SOW. This Motion

   requests that discussion of the 2016 SOW in the Marks Declaration be restricted to the Parties

   and the Court, and that Plaintiffs publicly file a version of the Marks Declaration in which

   discussion of the 2016 SOW is redacted.

          16.       The Oppenheim Declaration discusses the 2016 SOW and was previously

   designated under Level 1 Restriction in this case. ECF No. 288-1; see also ECF No. 289, ECF



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   No. 299. This Motion requests that discussion of the 2016 SOW in the Oppenheim Declaration

   be restricted to the Parties and the Court, and that Plaintiffs publicly file a version of the

   Oppenheim Declaration in which discussion of the 2016 SOW is redacted.

           17.     Finally, this Motion requests that discussion of the above-referenced materials in

   Plaintiffs’ Opposition be restricted to the Parties and the Court, and that Plaintiffs publicly file a

   version of their Opposition in which discussion of the above-listed materials is redacted.

   Plaintiffs’ Opposition

           18.     The risk of competitive harm to Plaintiffs, RIAA, and MarkMonitor outweighs

   the need for the public to have access to Plaintiffs’ Opposition, Exhibits 2, 4, and 10 thereto, and

   the Marks and Oppenheim Declarations in their entirety. Generally, this information, while

   harmful in the hands of competitors, is not necessary or substantially informative for the general

   public to understand or evaluate the issues between the parties.

           19.     Plaintiffs seek only a Level 1 restriction—the least secretive level of restriction—

   for these materials. With respect to Plaintiffs’ Opposition brief, Exhibit 10, and the Marks and

   Oppenheim Declarations, Plaintiffs have proposed to redact discussion of the sensitive,

   confidential information described above. With respect to Exhibit 2 and Exhibit 4, other

   methods of protecting the sensitive information, such as redaction, are not workable because a

   fulsome understanding of the 2016 download project described in Plaintiffs’ Opposition requires

   access to these materials in their totality. Permitting a Level 1 restriction for these materials is

   the only method that can adequately protect the sensitive confidential information found therein.

           20.     Moreover, though the mere existence of a Stipulated Protective Order is not in

   itself sufficient to prove that a Motion to Restrict should be granted, Plaintiffs respectfully




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   inform the Court that Exhibit 2 and Exhibit 4 have both been designated Highly Confidential –

   Attorneys’ Eyes Only under the Protective Order entered in this case. ECF No. 63.

          WHEREFORE, Plaintiffs request that this Court restrict Exhibit C and Exhibit F to

   Charter’s Motion, Exhibit Nos. 2 and 4 to Plaintiffs’ Opposition, portions of Exhibit 10 to

   Plaintiffs’ Opposition, and portions of Plaintiffs’ Opposition, the Marks Declaration, and the

   Oppenheim Declaration under Level 1 restriction.



   Dated: April 21, 2021                               /s/ Jeffrey M. Gould
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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 21, 2021, I caused the foregoing document and all

   supporting materials thereto to be filed electronically with the Clerk of the Court using the

   CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

   with CM/ECF.


                                                         /s/ Jeffrey M. Gould
                                                         Jeffrey M. Gould




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